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 7                          UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF NEVADA
 9

10   SVI, INC. DBA SPECIALTY
     VEHICLES,
11                                                 Case No. 2:07-cv-01447-LDG (PAL)
            Plaintiff,
12                                                 FINAL JUDGMENT
     v.
13
     DAVID G. SMITH, et al.,
14
            Defendants.
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17          Previously, the Court granted partial summary judgment on the issue of liability in

18   favor of plaintiff SVI, Inc. dba Specialty Vehicles and against defendant David G. Smith.

19   The parties tried the issue of damages to the Court without a jury, following which the Court

20   reached the following decision:

21          THE COURT ORDERS AND ADJUDGES that plaintiff SVI, Inc. dba Specialty

22   Vehicles recover from the defendant David G. Smith the amount of $757,131.89, with

23   interest and costs.

24   DATED this ______
                 24th day of March, 2011.
25

26                                                             Lloyd D. George
                                                               United States District Judge
